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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         )
MICHAEL DARDASHTIAN, individually and on )      Case No. 17 CV 4327 (LLS)
behalf of COOPER SQUARE VENTURES, LLC )
NDAP, LLC and CHANNELREPLY, LLC,         )
                   Plaintiffs,           )
                                         )
        -against-                        )
                                         )
                                         )      ORAL ARGUMENT REQUESTED
DAVID GITMAN, JEREMY FALK, SUMMIT        )
ROCK HOLDINGS, LLC, ACCEL COMMERCE, )
LLC, DALVA VENTURES, LLC,                )
KONSTANTYN BAGAIEV, OLESKSII             )
GLUKHAREV and CHANNELREPLY, INC.,        )
                   Defendants.           )
                                         )

   REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF THE GITMAN
                DEFENDANTS' MOTION TO DISMISS



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                                         LLC and ChannelReply, Inc.
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         Defendants David Gitman ("Gitman"), Accel Commerce, LLC, Dalva Ventures, LLC,

and ChannelReply, Inc.1 (together, "Defendants"), by their attorneys Dentons US LLP,

respectfully submit this reply memorandum of law in further support of their motion to dismiss

plaintiffs' Verified Complaint (the "Complaint" or "Cplt."), pursuant to Fed. R. Civ. P. 12(b)(1)

and 12(b)(6). For the reasons stated below, plaintiffs' Complaint should be dismissed with

prejudice and nothing in Plaintiffs' Memorandum of Fact and Law in Opposition to Defendants'

Motion to Dismiss ("Opposition") should convince this Court otherwise.

                                     PRELIMINARY STATEMENT

         Defendants move to dismiss the Complaint on the grounds that plaintiff Michael

Dardashtian ("Dardashtian") acted without authority when, without approval of co-Member and

co-Manager Gitman, he purportedly brought this action on behalf of entities Cooper Square

Ventures, LLC ("CSV"), NDAP, LLC ("NDAP") and ChannelReply, LLC ("CR LLC") (together,

the "Plaintiff Entities"). The plain language of the various operating agreements all specifically

prohibit Dardashtian's conduct. Moreover, Dardashtian failed to allege in the Complaint that he

made a demand that an action should be commenced on behalf of the Plaintiff Entities, or that

such a demand would be futile. In addition, Dardashtian failed to segregate his own claims from

those that he purportedly brought on behalf of the Plaintiff Entities, thus providing another

independent basis for dismissing the Complaint.

         Plaintiffs' Opposition does not sufficiently explain why the Complaint should not be

dismissed in light of the arguments set forth in the Defendants' motion. Plaintiffs offer no

defense whatsoever to Dardashtian's blatant breach of contract in bringing this action on behalf

of the Plaintiff Entities. Instead, Plaintiffs' Opposition focuses on the unremarkable -- and well-


1
 Counsel notes that the correct spelling of both defendant ChannelReply, Inc. ("CR Inc.") and plaintiff
ChannelReply, LLC ("CR LLC") has no space between the words "Channel" and "Reply".

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settled -- proposition that New York law permits derivative actions in the context of limited

liability companies ("LLCs"). Nowhere, however, do plaintiffs' cite a single case or a legal

authority for the proposition that an LLC member or manager can bring an action, derivatively or

otherwise, on behalf of the LLC where, as here, the relevant operating agreements expressly

prohibit such an action.

         In their Opposition, plaintiffs scour the various agreements to find a provision that

would permit Dardashtian to bring his derivative action without adequately pleading demand

futility, but with no success. The operating agreements, negotiated at arm's length, state plainly

that consent of all managers is required before any action is taken. This was no doubt intentional:

neither Gitman nor Dardashtian wanted to relinquish control to the other 50% co-owner.

Plaintiffs' Opposition refers to various sections of the CSV Operating Agreement, such as: the

remedies clause, Section 17.11; the "no waiver of liability" clause, Section 8.7; and the

indemnification clause, Section 8.8. However, none of these provisions even remotely states or

implies that a manager or member can act contrary to the plain terms of the operating agreement.

       Plaintiffs' Complaint therefore fails as a matter of law. Plaintiffs' protestations

notwithstanding, no amount of numbered paragraphs or attached exhibits can save plaintiffs'

from the plain meaning of the operating agreements. Nor have plaintiffs met the pleading

requirements for demand futility, or appropriately segregated Dardashtian's purported individual

claims from his purported derivative claims on behalf of the Plaintiff Entities. Since the only

federal claims are being asserted derivatively on behalf of the Plaintiff Entities, once the

derivative claims are dismissed, no federal claims will remain in the case. Upon dismissal of the

federal claims from the case, the Court should decline to retain supplemental jurisdiction over

any remaining state law claims that it does not otherwise dismiss on the merits. Plaintiffs are



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then free to seek appropriate redress in New York State Supreme Court, as expressly

contemplated in the agreements. See CSV Operating Agreement, Section 17.8.

        Accordingly, pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), the Complaint should be

dismissed with prejudice in its entirety.

                                                ARGUMENT

I.      DARDASHTIAN HAS NO AUTHORITY TO BRING THIS ACTION ON
        BEHALF OF PLAINTIFF ENTITIES UNDER THE OPERATING
        AGREEMENTS.

        Plaintiffs simply cannot escape the plain language of the operating agreements:

"Whenever Management shall be required to take any action, make any decision or exercise any

discretion and there shall be more than one Manager, then except as other otherwise provided in

this Agreement, the action, decision or exercise of discretion shall require the approval of all of

the persons appointed as Manager." Operating Agreement of CSV, Section 8.1 (italicized

emphasis added); NDAP Operating Agreement, Section 7.3(a).2 Each of the operating

agreements clearly spells out the parties' agreement that Dardashtian and Gitman each needed the

other's consent and approval to bring an action on behalf of one of the companies they co-owned

and co-managed. This was an arm's length, bargained for exchange. There is no "otherwise

provided" provision that saves Dardashtian's extra-contractual actions from the plain language of

the agreement. The agreements are clear on their face and will be construed as such by New

York courts. See, e.g., Beal Sav. Bank v. Sommer, 8 N.Y.3d 318, 324 (N.Y. 2007) (citation

omitted) (noting that construction of unambiguous contracts is a matter of law, and the parties'

intentions are gathered from the "four corners of the instrument and should be enforced


2
 The Operating Agreement for plaintiff CR LLC contains the identical language at its Section 8.1. Meredith Decl.,
Exh. 3. Plaintiffs correctly point out that the CR LLC Operating Agreement is unsigned. See Opposition at 5. For
purposes of this Motion to Dismiss only, defendants assume that Plaintiffs are operating under the unsigned CR
LLC Operating Agreement or the CSV Operating Agreement.

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according to its terms"); see also Hoeffner v. Orrick, Herrington & Sutcliffe LLP, 878 N.Y.S.2d

717, 719 (1st Dep't 2009) (construing unambiguous contract terms). Under the plain meaning of

the controlling contracts, the claims purportedly brought on behalf of the Plaintiff Entities all fail

as a matter of law.

        No doubt recognizing this, plaintiffs offer a tortured reading of the agreements and

virtually ignore their plain language, and instead focus first on the so-called "clear underlying

intent" of the operating agreements, and second on the undisputed -- and largely irrelevant --

question of whether members of an LLC may bring a derivative action under New York law.

Regarding plaintiffs' first attempt to defend Dardashtian's breach of the operating agreements,

plaintiffs cite to other, immaterial provisions in the various agreements in an effort to resuscitate

their claims. The effort fails. For example, plaintiffs contend that the remedies clause of the

CSV Operating Agreement provides Dardashtian with authority to sue on the entities' behalf

because "any remedies provided in the Agreement are not to exclude all other remedies available

at law or equity which members and managers may avail themselves of and pursue to the fullest

extent of the law." Opposition at 5. This is a nonsensical argument. This language says nothing

about Dardashtian's authority to ignore the edict that any "action, decision or exercise of

discretion" by him "shall require the approval of all of the persons appointed as Manager."

Operating Agreement of CSV, Section 8.1 (italics added). Nor does it even purport to trump any

other provision of the agreement. It merely states that both Dardashtian and Gitman could avail

themselves of remedies available "to the fullest extent of the law," which would still prohibit

Dardashtian's blatant breach of contract in bringing a purported derivative action on behalf of the

Plaintiff Entities without the consent of Gitman.




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       Similarly, plaintiffs' reference to Section 8.7 of the CSV Operating Agreement is also

unavailing. Opposition at 5. That provision simply states that managers who engage in

wrongful conduct may be held liable. It says nothing about permitting one manager to bring an

action on behalf of the entity without following the procedures set forth therein. The same is true

of Section 8.8 as well, which exempts managers from indemnification for actions brought

"by or in the right of the Company." This provision does not permit one manager to bring an

action "in the right of the Company" without the consent of the other. It merely acknowledges

the somewhat pedestrian fact that an action may be brought "by or in the right of the Company."

       Failing to find any support in the agreements themselves, plaintiffs next turn to derivative

actions in the context of an LLC. Opposition at 5-8. The effort is equally unpersuasive.

Plaintiffs cite a number of cases standing for the proposition that New York courts recognize that

individuals may bring actions derivatively. Opposition at 6-7. Since Tzolis v. Wolff, 10 N.Y.3d

100, 109 (N.Y. 2008), this has been true in the context of LLCs as well. Defendants do not

dispute this. However, defendants do dispute that such an action is a matter of right regardless of

what the LLC's operating agreement says. Plaintiffs gloss over an important aspect of Tzolis. It

was judge-made law. Until Tzolis, there had been no ruling by the New York Court of Appeals

regarding derivative actions in the context of an LLC. As the Tzolis Court appreciated, it was

being asked to recognize derivative actions on behalf of LLCs "as to which no statutory

provision for such an action exist[ed]." Tzolis, 10 N.Y.3d at 105. The Court of Appeals, not

surprisingly, concluded that such a derivative action was permissible based upon limited

partnership and corporate law. However, the Tzolis Court, unlike here, was not faced with

operating agreements that prohibited such unilateral actions. To the contrary, in the Tzolis

decision, the Court of Appeals explicitly noted that "the right to sue derivatively has never been



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unfettered." Id. at 108. "What limitations on the right of LLC members to sue derivatively may

exist is a question not before us today. We do not, however hold or suggest that there are none."

Id. at 109. The Court of Appeals was voicing concern about what has now occurred here. In the

present case before this Court, no authority exists. Plaintiffs, in bringing an action that plainly

violates the controlling operating agreements, is asking this Court to take the radical step of

ruling that a member of an LLC, as a matter of right, always retains the ability to bring a

derivative action on behalf of the entity irrespective of the relevant LLC operating agreement.

The contract language would be trumped by the court-made "right" to bring a derivative action.

       There is no statutory authority in the LLC context in New York permitting this kind of

Draconian response to contracts. That New York law now allows derivative actions to be

brought on behalf of an LLC does not mean that New York law now requires all LLCs to allow

derivative actions. See, e.g., Nama Holdings, LLC v. Greenberg Traurig, LLP, 907 N.Y.S.2d

102 (N.Y. Sup. Ct., N.Y. Co. 2008) (recognizing that where an operating agreement expressly

prohibits a member of a Nevada limited liability company from bringing a derivative action, then

that action would be properly precluded), modified and otherwise aff'd, 880 N.Y.S.2d 34, 35 (1st

Dep't 2008) (relying on the plain meaning of the company's operating agreement). Plaintiffs'

Opposition, without any support in the case law or statutory framework, argues essentially that

the members of an LLC do not have the power to enter into an operating agreement which

restricts the ability of one member to bring a derivative claim on behalf of the LLC. Thus,

plaintiffs invite this Court to ignore the contract language between the parties and make a

judicial leap not contemplated by statutory authority.

       Accordingly, Plaintiffs' claims on behalf of the entities fail as a matter of law.




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II.   IN ANY EVENT, DARDASHTIAN FAILED TO ADEQUATELY PLEAD DEMAND
      FUTILITY AND, THEREFORE, THE PURPORTED DERIVATIVE CLAIMS
      SHOULD BE DISMISSED AS A MATTER OF LAW.

        None of the Plaintiff Entities    that is, CSV, NDAP and CR LLC           belongs in this

lawsuit. In addition to his failure to abide by the strictures of the operating agreements,

Dardashtian also made no effort to demand from Gitman that an action be brought on behalf of

the Plaintiff Entities. Nor did plaintiffs include any reference to, or allegations of, demand

futility in their Complaint. Similar to his flouting of the controlling contract language,

Dardashtian has again acted without constraint of procedure or law and brought an unauthorized

action purportedly on behalf of the Plaintiff Entities. The failure is lethal to plaintiffs'

Complaint.

        Borrowing from the New York Business Corporation statute, New York law requires that

a derivative action "set forth with particularity the efforts of the plaintiff to secure the initiation

of such action by the board or the reasons for not making such effort." Zacharius v. Kensington

Publ. Corp., 984 N.Y.S.2d 635, 635 (N.Y. Sup. Ct., N.Y. Co. 2014) (quoting NY Bus. Corp.

Law § 626(c)). The Court of Appeals in Marx v. Akers, 88 N.Y.2d 189, 200 (N.Y. 1996), further

stated that "[d]emand is excused because of futility when a complaint alleges with particularity

that a majority of the board of directors is interested in the challenged transactions . . . or is

controlled by a self-interested director." None of those requirements is met here.

        Plaintiffs' reliance on Fed. R. Civ. P. 23.1 is misplaced. That federal rule is a "procedural

requirement empowering federal courts to determine from the pleadings whether the demand

requirement has been met." RCM Sec. Fund, Inc. v. Stanton, 928 F.2d 1318, 1329 (2d Cir. 1991).

The rule requires first that plaintiff "fairly and adequately represent the interests of shareholders

or members who are similarly situated in enforcing the right of the corporation of association."



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The Complaint does not demonstrate this "fair and adequate representation" to enforce the right

of the entities. Indeed, it remains wholly unclear that Dardashtian somehow represents the

Plaintiff Entities' interests at all vis-à-vis Gitman, other than the happenstance that Dardashtian

brought this current action -- with or without authority -- on both his own behalf and purportedly

on theirs. See, e.g., Barmash v. Pearlman, 2013 N.Y. Slip Op 32460(U) (N.Y. Sup. Ct., N.Y. Co.

Oct. 11, 2013) (noting conflict of interest between a majority shareholder and corporation itself

and disqualifying counsel for representing both).

        Second, and more important, Fed. R. Civ. P. 23.1 requires that a plaintiff "state with

particularity (A) any effort by the pl

the reasons for not obtaining the action or not making the effort." Plaintiffs fail on both counts.

The propriety of excusing demand, or the adequacy of the demand, are both creatures of state

law. See Stoner v. Walsh, 772 F. Supp. 790, 795 (S.D.N.Y. 1991). Under New York law, a

demand needs to adequately apprise directors (or members in the case of an LLC) of the

potential cause of action so that they can dispassionately discharge their duty regarding

authorization of actions that "in their considered opinion . . . [are] in the best interests of the

corporation." Barr v. Wackman, 368 N.Y.S.2d 497, 505 (N.Y. 1975) (emphasis in original). See

also Lewis v. Graves, 701 F.2d 245, 247 (2d Cir. 1983) (requirement intended "'to give the

derivative corporation itself the opportunity to take over a suit which was brought on its behalf in

the first place, and thus to allow the directors the chance to occupy their normal status as

conductors of the corporation's affairs.'") (quoting Elfenbein v. Gulf & Western Industries, Inc.,

590 F.2d 445, 450 (2d Cir. 1978)). Here, while it is true that plaintiffs' Complaint is lengthy and

full of allegations against Gitman, these allegations do not sufficiently allege particular instances

of demand with respect to the various claims. For example, Gitman's supposed "rebuffing" of



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Dardashtian's demand referenced by in plaintiffs' Opposition at page 8 amounts to Gitman's

negotiation regarding the sale of NDAP, a sale that Dardashtian has now agreed to and has, in

fact, been completed.

        Nor does the Complaint even attempt to allege demand futility. Instead, plaintiffs simply

makes allegations of wrongdoing against Gitman, leaving it for the Court and the defendants to

decipher whether or not plaintiffs alleged futility. This is insufficient under New York law. See

Marx, 88 N.Y.2d at 198. For a demand to be futile, a complaint must allege "with particularity

that (1) a majority of the directors are interested in the transaction, or (2) the directors failed to

inform themselves to a degree reasonably necessary about the transaction, or (3) the directors

failed to exercise their business judgment in approving the transaction." Id. None of these facts

have been properly alleged in the Complaint. Therefore, plaintiffs' Complaint should be

dismissed on this basis as well.

III. PLAINTIFFS FAIL TO SEGREGATE THEIR INDIVIDUAL AND DERIVATIVE
     CLAIMS AND THEREFORE THE COMPLAINT SHOULD BE DISMISSED.

      Plaintiffs fail to adequately segregate the individualized claims from those brought

purportedly on behalf of the Plaintiff Entities. Under New York law, this failure provides

another basis for dismissal. See, e.g., Abrams v. Donati, 66 N.Y.2d 951, 953 (N.Y. 1985)

(holding that a complaint which has allegations which confuse a shareholder's derivative and

individual rights will be dismissed).

      Throughout most of the Complaint, plaintiffs make no distinction whatsoever between

counts or allegations brought by Dardashtian individually and those purportedly brought on

behalf of the Plaintiff Entities. Indeed, Counts 1-4, 7-14, and 18 all conflate Dardashtian's

individual actions and purported derivative actions. This is grounds for dismissal. In Greenberg

v. Falco Constr. Corp., 958 N.Y.S.2d 307 (N.Y. Sup. Ct., Kings Co. 2010), for example, the


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court noted that "[a]lthough a complaint may contain both derivative claims, brought on behalf

of a corporation, and individual claims, the two claims must not be intermingled within the same

causes of action, but instead must be pleaded separately." In determining whether a claim is

derivative or individual, "the pertinent inquiry is whether the thrust of the plaintiff's action is to

vindicate his personal rights as an individual and not as a stockholder on behalf of the

corporation." Id. (quoting Albany-Plattsburgh United Corp. v. Bell, 307 A.D.2d 416, 419 (3d

Dep't 2003)). Here, the plaintiffs fail to allege adequately and with the requisite particularity the

various individual and purportedly derivative claims to provide the required clarity. Cf. ATSI

Commc'ns, Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir.2007) (quoting Bell Alt. Corp. v.

Twombly, 550 U.S. 544, 555 (2007)) (discussing pleading standards).

IV.   ALL CLAIMS BELONGING TO, OR OWNED BY, THE PLAINTIFF ENTITIES
      SHOULD BE DISMISSED, INCLUDING ALL FEDERAL CAUSES OF ACTION.

        Once the Plaintiff Entities are dismissed from this action, as is warranted under the

operating agreements and/or demand futility arguments set forth above, and any remaining

claims in Counts 1-4, 7-14 and 18 are dismissed on the additional grounds that plaintiffs failed to

adequately plead and segregate individual and purported derivative claims, the Court should

dismiss all trade secret, trade name, contract, misappropriation, conversion and

proprietary/confidential information-related claims to the extent those claims belong to the

Plaintiff Entities. This is because those claims are derived from, and based upon, company

ownership. Dardashtian, individually, lacks standing to bring claims seeking those remedies.

Fed. R. Civ. P. 12(b)(6).

        Trade secrets and confidential and proprietary information, for example, belong not to

Dardashtian individually, but instead to the Plaintiff Entities. This is clear from the relevant

provisions in the operating agreements. See CSV Operating Agreement, § 12.2(a)-(b); NDAP

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Operating Agreement, § 6.5(c); and CR LLC Operating Agreement, § 12.2(a)-(b). Dardashtian

has no individual claim based upon trade secrets, trade names, confidential and proprietary

information, False Designation/Unfair Competition, or Computer Fraud. See Grusd v Arccos

Golf LLC, 2014 N.Y. Misc. LEXIS 2543, at *15-21 (N.Y. Sup. Ct., N.Y. Co. June 3, 2014).

       Accordingly, all of the remaining claims belonging to the Plaintiff Entities should be

dismissed, including all federal claims in the Complaint.

V.    THE COURT SHOULD DECLINE TO EXERCISE SUPPLEMENTAL
      JURISDICTION OVER THE STATE LAW CLAIMS AND DISMISS ALL
      REMAINING CLAIMS.

       Under Fed. R. 12(b)(1) and pursuant to 28 U.S.C. § 1367(c), the Court should dismiss the

entire action for lack of federal subject matter jurisdiction. The Court should exercise its

discretion and decline to assert supplemental jurisdiction over any remaining state law claims

when it "has dismissed all claims over which it has original jurisdiction." In any event, the

remaining state law claims all fail to meet the minimum pleading standards, and should be

dismissed as a matter of law for all of the reasons stated in defendants' moving brief.

       Accordingly, the Complaint should be dismissed in its entirety with prejudice.

                                         CONCLUSION

       For all the reasons set forth above and in defendants' moving brief, pursuant to Fed. R.

Civ. P. 12(b)(1) and 12(b)(6), Defendants David Gitman, Accel Commerce, LLC, Dalva

Ventures, LLC, and ChannelReply, Inc. respectfully submit that plaintiffs' Verified Complaint

should be dismissed in its entirety with prejudice.

Date: August 25, 2017                                 DENTONS US LLP


                                                      By: /s/ Brian S. Cousin_________
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